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                                          CRIMINAL MINUTES
 DATE:           May 7, 2010                              JUDGE: Messitte
 TIME:         10:50-11:25 (0/40)                         REPORTER/FTR/CTRM:            Marshall (4C)
 AUSA:          Stacy Belf                                CRD: Peterson
 DFT=S ATTY: Julie Johnson, AFPD                          Case Agent:    Dave Gorrell
 UNITED STATES OF AMERICA v.                         LAMONT JOHNSON
                      Released on Conditions/PR                  X Detained/Remanded to USMS
 DFDT=S AGE:                  36                          DATE OF BIRTH:
 CRIMINAL NO.                PJM-09-0588                  NO. OF COUNTS:          1
          Initial Appearance                               X    Indictment
          Arraignment                                           Superseding Indictment
     X    Rearraignment                                         Information
          Sentencing                                            Superseding Information
          Sentencing Hearing                                    Motions Hearing
          Violation of Probation                                Pretrial Conference
          Violation of Supervised Release                       WAIVER
          Detention Hearing                                     Other
          Appeal of Magistrate Judge=s Decision See Attached for List of Witnesses
 Defendant             arraigned          and     plead        ANOT     GUILTY@          as      to     Count(s)
 Defendant rearraigned and plead GUILTY as to Count(s) 1 of the Indictment , NOT GUILTY
 as to Count(s)             -----      which was accepted by the Court.
         Defendant found not to be in violation of supervised release.
    Sentencing Date:              set for July 27, 2010 @9:30 a.m.
Remarks:
Oral Motion of AUSA in open court to DISMISS Count(s)                         which was accepted by the Court.
         Defendant advised of Right of Appeal.
 X       Imposition of Sentence Suspended pending PSI.
                 Days for Motions. Motion to be filed by
         Trial-Bench/Jury               day(s). Trial week of
         Pretrial Officer                                       Probation Officer: J. Taberski
X        Minute entries docketed.




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Government Witness(es):                                 Defendant(s) Witness(es):


1.                                                 1.
2.                                                 2.
3.                                                 3.
4.                                                 4.
5.                                                 5.
6.                                                 6.
7.                                                 7.




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